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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

DWAINE COLEMAN,                                 )
                                                )
      Plaintiff,                                )
                                                )
      v.                                        )       Case No. 15-cv-898-RJD
                                                )
JAMES VINSON, JARED BLESSING, AND               )
DAVID MITCHELL,                                 )
                                                )
      Defendants.                               )

                             FINAL PRETRIAL ORDER

DALY, Magistrate Judge:

 I.   COUNSEL OF RECORD

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 II.   NATURE OF THE CASE

       The Plaintiff, Dwaine Coleman, brought this case alleging violations of his rights under
       the United States Constitution. At the time of the events that are the basis of his claims,
       Mr. Coleman was an inmate at the Vienna Correctional Center. The Defendants, James
       Vinson, Jared Blessing, and David Mitchell, are current employees of the Illinois
       Department of Corrections. Mr. Coleman alleges that Defendants Vinson and Blessing
       violated his rights under the Eighth Amendment by using excessive force against Mr.
       Coleman to cause harm to him and for no other purpose. Mr. Coleman also alleges that
       Defendants Mitchell violated his rights under the First Amendment by placing him in
       segregation as retaliation for Mr. Coleman complaining about a lack of medical treatment
       and denial of medical care.

       The Defendants deny that they violated Plaintiff’s constitutional rights. Defendants Vinson
       and Blessing specifically deny that they violated Plaintiff’s Eighth Amendment rights or
       that they used excessive force against Plaintiff. Defendant Mitchell specifically denies that
       he violated Plaintiff’s First Amendment rights or that he placed Plaintiff in segregation as
       retaliation for Mr. Coleman complaining about a lack of medical treatment and denial of
       medical care. Defendants admit that Mr. Coleman was placed in segregation but claim that
       it was done for a legitimate reason and not as retaliation.

III.   SUBJECT MATTER JURISDICTION

       This is an action for damages.

       The Plaintiff filed this action under 42 U.S.C. § 1983. This Court has subject matter
       jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       The existence of subject matter jurisdiction is not contested.

IV.    UNCONTROVERTED FACTS

       The following facts are not disputed:

       Plaintiff was previously an inmate in the custody of the Illinois Department of Corrections,
       housed at the Vienna Correctional Center, during the time period relevant to his claims.

       Defendants are current employees of the Illinois Department of Corrections and acted
       under color of state law.

       On November 17, 2014, Defendant Mitchell reviewed and signed an Offender Disciplinary
       Report that alleged that he had committed the offenses of Insolence and Disobeying a
       Direct Order.

       On November 17, 2014, Plaintiff filed a grievance alleging, among other things, that a
       correctional officer had prevented him from taking his medication and from using the

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       washroom.

       Also, on November 17, 2014, Defendant Mitchell placed Plaintiff in Temporary
       Confinement, which is a type of segregation.

       On January 3, 2015, Defendant Vinson escorted Plaintiff from the Health Care Unit to
       Plaintiff’s cell.

       The parties propose to convey these facts to the jury in the following manner:

       The Court will convey the facts to the jury.

 V.    CONTROVERTED FACTS

       The following are among the controverted facts:

       1. Whether Defendant Mitchell retaliated against Plaintiff in violation of the First
          Amendment.

       2. Whether Defendants Vinson and Blessing used excessive force against Plaintiff in
          violation of the Eighth Amendment.

VI.    AGREED TO ISSUES OF LAW

       The parties agree that the Court is to decide the following legal issues:

       1. Whether the evidence adduced is trial is sufficient under the law to submit Plaintiff’s
          First and Eighth Amendment claims to the jury.

       2. Whether Defendants are entitled to qualified immunity.

       3. Whether the evidence adduced at trial is sufficient under the law to submit Plaintiff’s
          claims for actual and punitive damages to the jury.


VII.   WITNESSES

       Plaintiff intends to call the following witnesses:

              Expert witnesses: none.

              Non-expert witnesses: Plaintiff Dwaine Coleman.

       Defendant intends to call the following witnesses:

              Expert witnesses: none.


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               Non-expert witnesses:

               1.   James Vinson
               2.   Jared Blessing
               3.   David Mitchell
               4.   Jacob Dent
               5.   Tammy Stevens
               6.   Todd Oehlsen

VIII.   EXHIBITS

        Plaintiff filed his pretrial disclosures on August 30, 2018 (Doc. No. 60). Defendants filed
        their pretrial disclosures on August 31, 2018 (Doc. No. 62).

        On September 12, 2018, Defendants filed their objections to Plaintiff’s pretrial disclosures
        (Doc. No. 66), in which Defendants objected to Plaintiff offering his own grievances as
        exhibits. On September 13, 2018, Plaintiff filed his objections to Defendants’ pretrial
        disclosures (Doc. No. 68), in which Plaintiff objected to Defendants offering Plaintiff’s
        IDOC Living Unit History and Cumulative Counseling Summary as exhibits.

        The parties will prepare an Exhibit List stating the number and brief description of each
        exhibit they expect to present at trial, and they will submit the Exhibit List no later than
        September 28, 2018, using Judge Daly’s approved form (a revision of AO Form 187).

 IX.    DAMAGES

        Plaintiff seeks (1) compensatory damages for the harms allegedly caused to him, including
        physical injuries and emotional distress; (2) punitive damages; and (3) costs and attorneys’
        fees.

  X.    BIFURCATED TRIAL

        The parties do not request a bifurcated trial.

 XI.    TRIAL BRIEFS

        The parties have not filed trial briefs and do not intend to do so.

XII.    MOTIONS IN LIMINE

        Plaintiff filed his motions in limine on August 30, 2018 (Doc. No. 59) and a supplemental
        motion in limine on September 7, 2018 (Doc. No. 64). Defendants filed their objections to
        Plaintiff’s motions in limine, including the supplemental motion, on September 12, 2018
        (Doc. No. 65).



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        Defendants filed their motions in limine on August 30, 2018 (Doc. No. 61). Plaintiff filed
        his objections to Defendants’ motions in limine on September 13, 2018 (Doc. No. 67).

XIII.   LIMITATIONS, RESERVATIONS, AND OTHER MATTERS

         A.     Trial Date. Trial of this cause is set for the week of October 1, 2018, and is
                scheduled to begin on October 2, 2018.

         B.     Length of Trial. The probable length of trial is 2-3 days.
         C.     Number of Jurors. There shall be a minimum of six jurors.
         D.     Jury Voir Dire. The Court will conduct voir dire. Limited participation by
                counsel may be permitted.


XIV.    JURY INSTRUCTIONS

        The parties do not anticipate issues with respect to preparation of the proposed jury
        instructions.

        The parties will provide proposed jury instructions in Microsoft Word format by email to
        RJDpd@ilsd.uscourts.gov no later than the morning of trial, and will prepare, provide, and
        mark them as follows:

        Each instruction should be marked to designate the party offering the instruction (e.g.,
        “Plaintiff’s Instruction No. 1” or “Parties’ Agreed Instruction No. 1”) and the source of the
        instruction (e.g., “Seventh Circuit Pattern Instruction No. 1.01”). Plaintiff is primarily
        responsible for the burden of proof instructions, the damage instructions, the verdict
        instructions, and the verdict forms. Defendant is primarily responsible for the cautionary
        instructions. The parties should work together in an effort to produce one set of proposed
        instructions. If the parties are unable to agree on certain instructions, each party may
        submit a version of the contested instructions. The Court will compile a packet of proposed
        final instructions and give the instructions to the parties during trial before a formal jury
        instruction conference is held.


 APPROVED AS TO FORM AND SUBSTANCE:

 /s/ Michael J. Hickey
 Attorney for Plaintiff

 /s/ Brent D. Stratton
 Attorney for Defendants


 IT IS SO ORDERED.

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DATED: September 24, 2018

                                        s/ Reona J. Daly
                                        Hon. Reona J. Daly
                                        United States Magistrate Judge




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